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                                                               [D.I. 12]
                                                               [D.I. 16]

                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE



  DANA T. BRAUNSKILL,

                 Plaintiff,                Civil No. 18-14851 (RMB/AMD)

        v.

  OFFICER JEFFREY ROBINSON, et
  al.,

                 Defendants.



                                   ORDER

             This matter comes before the Court by way of motions of

pro se Plaintiff Dana T. Braunskill (hereinafter, “Plaintiff”) for

leave to file an amended complaint [D.I. 12] and for pro bono

counsel [D.I. 16]. (See Motion to Amend Complaint [D.I. 12], Mar.

1, 2019; Motion for Pro Bono Counsel [D.I. 16], Apr. 10, 2019.)

The Court has considered Plaintiff’s submissions and decides the

matter pursuant to Federal Rule of Civil Procedure 78(b). For the

reasons set forth herein, the motions to amend and to appoint pro

bono counsel are denied.

             On October 9, 2018, Plaintiff submitted the initial

complaint. (Compl. [D.I. 1], Oct. 9, 2018.) In an Order dated

January 23, 2019, the District Court granted Plaintiff leave to

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proceed in forma pauperis and ordered the Clerk of Court to file

Plaintiff’s complaint. (Order [D.I. 6], Jan. 23, 2019.) On February

7, 2019, Summons issued as to Defendants Kyle Brown, R. Byrd, W.

Hewitt,    Constantine    Robinson,       Jeffery    Robinson,    and   Albert

Vanderlinden. (Summons Issued [D.I. 9], Feb. 7, 2019.) The Court

notes that Defendants have not yet answered the complaint. On

February 19, 2019, the Court denied without prejudice Plaintiff’s

motion to appoint pro bono counsel as premature. (Order [D.I. 11],

February 19, 2019.)

            The Court first addresses Plaintiff’s motion to amend

the complaint. The Court notes that Plaintiff is a pro se litigant,

and “should be afforded a certain degree of leniency, due to [an]

unfamiliarity with the judicial process[.]” Kongtcheu v. Hosp. for

Special Surgery, No. 13-1854, 2015 WL 502071, at *2 (D.N.J. Feb.

5, 2015), vacated on other grounds, 2015 WL 13675567 (D.N.J. Sept.

30, 2015) (citation omitted). However, “pro se litigants are still

‘bound    by   this   Court’s   orders,      local    rules,     policies   and

procedures, as well as the Federal Rules of Civil Procedure.’” Id.

            Pursuant to Federal Rule of Civil Procedure 15(a), leave

to amend pleadings shall be “freely give[n]” when “justice so

requires.” Fed. R. Civ. P. 15(a)(2). However, since Plaintiff

proceeds pursuant to 28 U.S.C. § 1915, the Court must review

“before docketing, if feasible . . .                 [the proposed amended]

complaint” and “dismiss the complaint, or any portion of the

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complaint if the complaint . . . fails to state a claim upon which

relief may be granted[.]” 28 U.S.C. §1915A(a)–(b). See also Komis

v. Owens, No. 16-5716, 2016 WL 6808483, at *1 (D.N.J. Nov. 16,

2016) (explaining a court must dismiss sua sponte “any claim that

is frivolous or malicious, fails to state a claim upon which relief

may be granted, or seeks monetary relief from a defendant who is

immune from such relief”) (citing 28 U.S.C. §§1915(e)(2)(B) and

1915A(b)). Under Federal Rule of Civil Procedure Rule 8(a)(2), a

complaint must contain “a short and plain statement of the claim

showing that the pleader is entitled to relief[.]” FED. R. CIV. P.

8(a)(2). Furthermore, Rule 8(d) provides that “[e]ach allegation

must be simple, concise, and direct.” FED. R. CIV. P. 8(d). “‘Taken

together,’ Rules 8(a) and 8(d)(1) ‘underscore the emphasis placed

on clarity and brevity by the federal pleading rules.’” Binsack v.

Lackawanna Cty. Prison, 438 F. App’x 158, 160 (3d Cir. 2011)

(quoting In re Westinghouse Secs. Litig., 90 F.3d 696, 702 (3d

Cir. 1996)). The purpose of Rule 8 is to give defendants “‘fair

notice of what the . . . claim is and the grounds upon which it

rests.’” Olmo v. Atlantic City Parasail, LLC, No. 13-4923, 2016 WL

1728964, at *5 (D.N.J. Apr. 28, 2016) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007)) (internal quotation marks

omitted). Furthermore, Plaintiff’s amended complaint must comply

with Federal Rule of Civil Procedure 10(b) which states that “[a]

party must state its claims . . . in numbered paragraphs, each

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limited as far as practicable to a single set of circumstances.”

FED. R. CIV. P. 10(b). Local Civil Rule 15.1 requires a party seeking

to amend a pleading to “attach to the motion: (1) a copy of the

proposed amended pleading; and (2) a form of the amended pleading

that shall indicate in what respect(s) it differs from the pleading

which it proposes to amend, by bracketing or striking through

materials to be deleted and underlining materials to be added.” L.

Civ. R. 15.1(a).

            The Court finds the proposed amended complaint fails to

comply with Federal Rules of Civil Procedure 8 and 10. While it

appears that Plaintiff seeks to add factual specificity to his

complaint,    the   allegations    proffered    in    the   proposed   amended

complaint are not separated by paragraph and each paragraph is not

limited to a single set of circumstances. Several paragraphs are

divided    into   multiple   sub-sections      that   relate   to    different

factual circumstances. For example, in Paragraph 1, Plaintiff

avers that on November 29, 2017, Defendant Robinson verbally

assaulted Plaintiff; then in sub-paragraph c within Paragraph 1,

Plaintiff describes multiple defendants “attacking” Plaintiff in

response to a “code 33 incident ‘assault’ alert.” (See Proposed

Am. Compl. [D.I. 12], pp. 2-3 on the docket.) In sub-paragraph e

of   Paragraph    1,   Plaintiff   makes   allegations      with    respect   to

purported retaliation for filing a grievance letter, and in sub-

paragraph f, Plaintiff avers that he was “next fighting for [his]

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life [b]ecause [he was] being ‘attacked’ by Officer Constantine

West [when assisting Officer J. Robinson.]” (Id., p. 3 on the

docket.)    Plaintiff      also   alleges    a    different       set     of    factual

circumstances supporting another instance of purported retaliation

in sub-paragraph f. (Id.)

            The     proposed      amended    complaint       is     replete           with

allegations       that    contravene     both     Rule     10(b)    and        Rule     8.

Consequently,       the    proposed    amended      complaint      does       not     give

Defendants “‘fair notice of what the . . . claim is and the grounds

upon   which   it    rests[,]’”    Olmo,     2016    WL   1728964,       at    *5,     and

frustrates their ability to respond to the allegations. Itiowe v.

United States Gov’t, 650 F. App’x 100, No. 15-3790, 2016 WL

2990404, at * 2 (3d Cir. May 24, 2016) (affirming the district

court’s dismissal of a pro se plaintiff’s complaint and proposed

amended complaint, reasoning that “[t]he complaint is virtually

incomprehensible,”         and     “[t]he       District     Court        accurately

characterized        the      document       as      rambling           and         mostly

unintelligible.”) Moreover, Plaintiff’s allegations impede the

Court’s ability to evaluate Plaintiff’s claims sua sponte as

required by 28 U.S.C. § 1915A. See Pollis v. Bd. of Chosen

Freeholders, Civ. No. 09-3009, 2009 WL 5064634, at *2 (D.N.J. Dec.

15, 2009) (holding that “the [c]ourt has no obligation to marshal

the factual allegations that provide the basis of each claim[]”

and dismissing the plaintiff’s amended complaint finding that it

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“constitutes the exact antithesis of the ‘short and plain statement

of the claim’ required by Rule 8.”).

            Moreover, Plaintiff has not attached to the motion to

amend a form of the proposed amended complaint as requested under

Local Civil Rule 15.1 that indicates in what respects the proposed

pleading differs from the operative complaint, by bracketing,

striking through, or underlining. Consequently, the Court denies

Plaintiff’s motion to amend without prejudice. Plaintiff may,

however, file a renewed motion for leave to file an amended

complaint, and the proposed amended complaint must comply with the

pleading requirements set forth in Twombly, Federal Rules 8 and

10, and the Local Civil Rules.

            The Court next addresses Plaintiff’s motion for pro bono

counsel.     “Indigent       civil   litigants         possess   neither   a

constitutional     nor   a   statutory    right   to    appointed   counsel.”

Montgomery v. Pinchak, 294 F.3d 492, 498 (3d Cir. 2002). Indeed,

under 28 U.S.C. § 1915, Congress has only granted district courts

the statutory authority to “request” that attorneys represent an

indigent individual in a civil matter. Id. (citing 28 U.S.C. §

1915(e)(1)). This grant is interpreted as providing the courts

with   “‘broad   discretion’    to   determine    whether    appointment   of

counsel in a civil case would be appropriate.” Montgomery, 294

F.3d at 498 (citing Tabron v. Grace, 6 F.3d 147, 153 (3d Cir.

1993), cert. denied, 510 U.S. 1196 (1994)). “As a threshold matter,

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a [] court must assess” the merits of a plaintiff’s case. Id. at

498-99. If a court finds that there is sufficient and factual merit

to a claim, the court next turns to the factors set forth in Tabron

v. Grace to assess whether appointment of pro bono counsel is

warranted. Id. at 499. These factors include: (1) the movant’s

ability to present his or her own case; (2) the difficulty or

complexity of the legal issues involved in the case; (3) the degree

to which factual investigation will be required and the ability of

the indigent plaintiff to pursue such investigation; (4) whether

and to what extent the case is likely to turn on credibility

determinations; (5) whether expert testimony will be required in

presenting the case; and (6) whether the movant is able to retain

and afford counsel on his or her own behalf. Tabron, 6. F. 3d at

156-157 (hereinafter, “Tabron factors”). No single Tabron factor

is determinative. Id. at 157; see also Montgomery, 294 F.3d at

499.

            Here,    the   District      Court   permitted   a   portion   of

Plaintiff’s complaint to proceed beyond sua sponte dismissal. (See

Opinion [D.I. 5]; Order [D.I. 6].) Consequently, the Court shall

examine the Tabron factors to assess whether appointment of counsel

is warranted.

            With    respect   to   the   first   Tabron   factor,   Plaintiff

asserts that Plaintiff does not possess “sufficient knowledge and

expertise” nor “experience in representing [himself] effectively”

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to “address issues being raised that are a complex constitutional

nature, as such.” (Mot. for Pro Bono Counsel (hereinafter, “Pl.’s

Mot.”) [D.I. 16], p. 7 on the docket.) Plaintiff also avers that

he “requires a trained attorney to argue the nuances of the

applicable law[,] [f]or [he does] not understand the legal []

jargons or legal [] language,” nor does he possess the ability “to

acquire confidential documents or to investigate [] witnesses or

freely    []       investigate      this    case’s   records/reports,      etc.”    on

account    of      being    placed     on   administrative     segregation.     (Id.)

Plaintiff also asserts that he only possesses a 5th grade level of

education, suffers from a history of mental issues, and has PTSD.

(Id.)

               In considering the first Tabron factor, courts generally

consider       a      plaintiff’s      “‘education,       literacy,     prior     work

experience, and prior litigation experience’” as well as “whether

the plaintiff has access to necessary resources like a typewriter,

photocopier, telephone, and computer.” Parham v. Johnson, 126 F.3d

454,    459     (3d    Cir.    1997)    (quoting     Tabron,    6   F.3d   at   156).

Additionally, “if the plaintiff is a prisoner, the restraints

placed upon him or her by confinement” may also impact a litigant’s

ability to present his or her case. Tabron, 6 F.3d at 156. A

plaintiff’s         own    cogent    submissions     to   a   court,   however,    may

indicate that an individual has the ability to effectively pursue

a case. See Clinton v. Jersey City Police Dep’t, No. 07-5686, 2009

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WL 2230938, at *1 n.3 (D.N.J. July 24, 2009) (noting that “the

plaintiff’s ability to present an articulate complaint as well as

other    documents”    did    not    support    appointment      of    counsel).

Moreover, Plaintiff’s lack of legal training or education, alone,

does not provide a basis for appointing counsel, “because it is a

limitation held in common by most pro se parties.” Hooks v.

Schultz, No. 07-5627, 2010 WL 415316, at *1 n.2 (D.N.J. Jan. 29,

2010) (citing Council v. Nash, No. 06-007, 2007 WL 1651191 (D.N.J.

June 1, 2007)).

            Here,     the    Court   notes     the   potential        constraints

Plaintiff’s incarceration may place on his access to resources.

However, the Court also notes Plaintiff’s participation in this

action overall that demonstrates an ability to prosecute his claims

without the assistance of counsel at this time. For example, in

addition to Plaintiff’s present motion for appointment of pro bono

counsel in which Plaintiff addresses the Tabron factors, Plaintiff

has filed several letters with the Court. (See Ltrs. [D.I. 2, 3,

13, 14, 15].) The instant motion is also Plaintiff’s second motion

for appointment of pro bono counsel. (See Mot. to Appoint Pro Bono

Counsel [D.I. 10], Feb. 8, 2019.) Finally, while Plaintiff asserts

that he is an “inmate of special [] needs,” has “a mental []

history,” and suffers from PTSD, the Court finds that Plaintiff

has presented several initial claims adequately thus far. (See

Opinion [D.I. 5].) See also Bragg v. Meo, No. 17-5056, 2017 WL

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 6667516, at *2 (D.N.J. Nov. 2, 2017) (rejecting the position that

 plaintiff’s ability to present his claims was constrained by his

 mental illness and holding that plaintiff had “thus far presented

 his case clearly and adequately”). Although Plaintiff has not

 appropriately articulated claims for his amended complaint, the

 Court notes that he will be provided additional time to do so.

 Accordingly, the Court finds that the first Tabron factor does not

 at this time weigh in favor of appointment of counsel.

               As to the second Tabron factor, namely the complexity of

 the   legal    issues,      Plaintiff       claims    that   he    does   not   possess

 sufficient     knowledge       or   expertise        in   addressing      issues    of    a

 “a complex constitutional nature.” (“Pl.’s Mot. [D.I. 16], p. 7 on

 the docket.) Plaintiff also avers that he “requires a trained

 attorney to argue the nuances of the applicable law” because he

 lacks the ability to comprehend legal jargon. (Id.) In considering

 the second Tabron factor, the Third Circuit has instructed that

 the   difficulty       of     the   legal    issues       must    be   considered    “in

 conjunction with . . . the plaintiff’s capacity to present his own

 case.” Tabron, 6 F.3d at 156. As stated in Montgomery, “where the

 law is not clear, it will often best serve the ends of justice to

 have both sides of a difficult legal issue presented by those

 trained in legal analysis.” Montgomery, 294 F.3d at 502 (quoting

 Tabron,   6     F.3d     at    156).    Here,        Plaintiff’s       claims   involve

 allegations      of    excessive       force.    Cases       involving      claims       of

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 excessive force are generally not determined to be overly complex

 in the context of the Tabron analysis. See, e.g., Porter v. Dooley,

 No. 09-6068, 2011 WL 13142465, at *5 (D.N.J. May 13, 2011) (noting

 “the    law    concerning         the     use        of   excessive      force     is     well-

 established,” and thus concluding the second Tabron factor did not

 weigh in favor of appointment of counsel); see also Shabazz v.

 Felsnik, 129 F. App’x 726, 728 (3d Cir. 2005) (holding the district

 court     properly        applied       the     Tabron        factors    in   denying      the

 appointment of pro bono counsel and affirming the district court’s

 finding that, with respect to the excessive force claims, “the

 legal and factual issues were not complex”). Consequently, this

 Court     finds      that    the     second          Tabron     factor    weighs        against

 appointment of counsel.

               With    respect       to   the     third     Tabron       factor,    Plaintiff

 asserts    that      he   lacks     “accessibility            to   acquire    confidential

 documents or to investigate [] witnesses or freely [] investigate

 this case’s records/reports, etc.” on account of being placed in

 administrative segregation. (Pl.’s Mot. [D.I. 16], p. 7 on the

 docket.) When determining whether the third factor weighs in favor

 of appointment of counsel, the Court considers “the degree to which

 factual investigation will be required and the ability of the

 indigent plaintiff to pursue such investigation.” Tabron, 6 F.3d

 at 156. Where the claim is expected to involve extensive discovery

 and compliance with complex discovery rules, pro bono counsel may

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 be warranted. Id. Here, the case is at its early stages. Defendants

 have not yet answered the complaint. See Davis v. New Jersey

 Department of Corrections, No. 17-6898, 2018 WL 4179462, at *10

 (D.N.J. Aug. 31, 2018) (denying plaintiff’s motion for pro bono

 counsel, in part, because “at this early stage in the proceedings,”

 the   court    could   not   determine      how    much    discovery      would    be

 required.)     Moreover,     while   Plaintiff         asserts   that    he   is   on

 administrative segregation, 1 nothing in the record indicates that

 Plaintiff must comply with complex discovery rules or engage in

 extensive discovery at this time. Consequently, the Court finds

 that the third Tabron factor does not weigh in favor of appointment

 of counsel.

               Plaintiff does not address the fourth Tabron factor.

 However, in considering the fourth Tabron factor, courts assess

 whether     the    claim     “is     likely       to     turn    on     credibility

 determinations[.]” Tabron, 6 F.3d at 156. Appointing pro bono

 counsel may be warranted when “the only evidence presented to the

 factfinder consists of conflicting testimony.” Id. (quoting Maclin

 v. Freake, 650 F.2d 885, 888 (7th Cir. 1981)). The Third Circuit

 has described the inquiry explaining that “courts should determine

 whether the case [will be] solely a swearing contest.” Montgomery,

 294 F.3d at 505 (citation omitted). Excessive force claims often


 1 The Court also notes that by way of letter dated April 26, 2019, Plaintiff
 asserts he has been relocated to South Woods State Prison. (See Pl.’s Ltr. [D.I.
 17], Apr. 26, 2019.)

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 involve conflicting testimony. Consequently, at this time, the

 Court   concludes   that     the   fourth   Tabron   factor   may   suppoert

 appointment of counsel.

            As to the fifth Tabron factor, the Court assesses whether

 the case will likely require expert testimony. Plaintiff does not

 address this factor. The Court notes that “appointed counsel may

 be warranted where the case will require testimony from expert

 witnesses.” Tabron, 6 F.3d at 156. However, at this time, as there

 has been no showing that expert testimony will be utilized, the

 Court   finds   that   the   fifth   Tabron   factor   does   not   support

 appointment of pro bono counsel.

            Finally, as to the sixth Tabron factor, “courts consider

 the plaintiff’s financial situation and overall effort to obtain

 counsel on his or her own behalf.” Porter, 2011 WL 13142465, at

 *6. Here, Plaintiff claims that “[Plaintiff] is indigent” and

 unable to afford an attorney. (See Pl.’s Mot. [D.I. 16], p. 7 on

 the docket.) Moreover, Plaintiff avers that he has been unable to

 hire an attorney despite attempts to do so. (Id.) As Plaintiff

 asserts that he cannot afford or obtain counsel, the Court finds

 that the sixth Tabron factor weighs in favor of appointment of pro

 bono counsel. However, on balance, the Court finds that the Tabron

 factors as a whole do not support appointment of pro bono counsel

 at this time.



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              Consequently, for the reasons set forth herein, and for

 good cause shown,

              IT IS on this 17th day of June 2019,

             ORDERED that Plaintiff’s motion for leave to file an

 amended complaint [D.I. 12] shall be, and is hereby, DENIED WITHOUT

 PREJUDICE; and it is further

             ORDERED that Plaintiff’s motion for appointment of pro

 bono counsel [D.I. 16] shall be, and is hereby, DENIED WITHOUT

 PREJUDICE.

                                    s/ Ann Marie Donio
                                    ANN MARIE DONIO
                                    UNITED STATES MAGISTRATE JUDGE

 cc: Hon. Renée Marie Bumb




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